Case 2:18-cv-03192-JFW-MRW Document 40 Filed 03/14/19 Page 1 of 3 Page ID #:441




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        XX GLOBAL, INC. and JACQUES WEBSTER
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   10                                      UNITED STATES DISTRICT COURT
   11                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   12
   13 PJAMLLC,                                           CASE NO.: 2:18-cv-03192 JFW
                                                         (MRWx)
   14                         Plaintiff,
                                                         Hon. John F. Walter
   15             vs.
                                                         DECLARATION OF MATTHEW
   16 XX GLOBAL, INC., JAQUES                            CAVE IN SUPPORT OF JOINT
      WEBSTER, and DOES 1-20, inclusive,                 MOTION IN LIMINE NO. 2:
   17                                                    MOTION OF DEFENDANTS AND
               Defendants.                               COUNTERCLAIMANTSXX
   18                                                    GLOBAL, INC. AND JACQUES
                                                         WEBSTER TO PRECLUDE ANY
   19                                                    REFERENCE TO TRAVIS SCOTT
                                                         MISSING OTHER
   20                                                    PERFORMANCES
   21
      XX GLOBAL, INC. and JACQUES                        Hearing Date:   April 5, 2019
   22 WEBSTER,
                                                         Hearing Time:   10 a.m.
   23                         Counterclaimants,
                                                         Pre-Trial Conf.: March 29, 2019
   24             vs.                                    Trial Date:      April 9, 2019
   25 PJAM LLC, JEFFERSON AGAR,
      ALEX MARTINI, PATRICK                              Action Commenced: March 20, 2018
   26 JOHNSTON, and ROES 1 through 10,
      inclusive,
   27
                 Counterclaim Defendants.
   28
        3975.065/1418472. l
        DECLARATION OF MATTHEW CA VE ISO JOINT MOTION IN LIMINE NO. 2
     Case 2:18-cv-03192-JFW-MRW Document 40 Filed 03/14/19 Page 2 of 3 Page ID #:442




                 1             I, Matthew Cave, declare:
                 2             1.         I am an attorney duly admitted to practice before this Court. I am an
                 3 associate with King, Holmes, Paterno & Soriano, LLP, attorneys for Defendants and
                 4 Counterclaimants XX Global, Inc. and Jacques Webster (together, "Defendants") in
                 5 the above-entitled action. I submit this declaration in support of Joint Motion in
                 6 Limine No. 2: Motion of Defendants and Counterclaimants XX Global, Inc. and
                 7 Jacques Webster to Preclude Any Reference to Travis Scott Missing Other
                 8 Performances. I have personal knowledge of the matters set forth below and would
                 9 testify competently to them if asked.
            10                 2.         Motion in Limine No. 2 seeks to preclude any reference to Mr. Webster
            11 (plk/a Travis Scott) missing scheduled performances, for any reason, other than the
            12 event at issue in this case.
            13                 3.         The subject matter of this motion has been discussed with opposing
            14 counsel, Stephen Tomasulo. Mr. Tomasulo has mentioned during meet and confers
            15 that such matter will be mentioned in the presence of the jury, specifically during his
            16 cross-examination of Mr. Webster.
            17                 4.         Defendants will be prejudiced if this motion is not granted because any
                18 references to other performances that Mr. Webster has missed do not bear on any
            19 question of fact or law before the jury in this case, and therefore are irrelevant. Such
            20 references would distract the jury from the one contract at issue and the alleged
            21 breaches of that contract. This could lead to several mini-trials (within the main
            22 trial) regarding the various reasons why Mr. Webster missed other shows-none of
            23 which would be relevant here, and all of which would confuse and muddle the
            24 issues in this case. Such references may also cause jurors to unfairly infer that Mr.
            25 Webster has a pattern of missing performances that his fans pay to attend, which
            26 could stir up emotions for any juror who has attended a concert or other event where
            27 Ill
            28 Ill
KING, HOLMES,
  PATERNO&
SORIANO, LLP
                     3975,065/1418472.1                                2
                     DECLARATION OF MATTHEW CAVE ISO JOINT MOTION IN LIMINE NO. 2
      Case 2:18-cv-03192-JFW-MRW Document 40 Filed 03/14/19 Page 3 of 3 Page ID #:443




                1 the scheduled perfonner failed to show up or perform.
                2
                3             I declare under penalty of perjury under the laws of the United States of
                4 America that the foregoing is true and correct.
                5             Executed March 14, 2019, at Los Angeles, California.
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                                                                 Matthew
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KING, HOLMES.
  PATERNO &
                    3975.065/1418472. l
SORIANO, LLP                                                      3
                    DECLARATION OF MATTHEW CA VE ISO JOINT MOTION IN LIM !NE NO. 2
